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                                         EXHIBIT A

Supplement to “5. Parties Represented”:

   •   Parties represented by Andrew B. Clubok:

          o Defendant Thomas Brady in Norris et al v. Brady et al, Case No. 1:23-cv-20439-

              KMM (S.D. Fla.) (the “Norris Action”) and Garrison v. Bankman-Fried et al., Case

              No. 1:22-cv-23753-KMM (S.D. Fla.) (the “Garrison Action”);

          o Defendant Gisele Bündchen in the Garrison Action; and

          o Defendant Lawrence Gene David in the Garrison Action.

   •   Pursuant to Rule 11.1(e) of the Rules of Procedure of the United States Judicial Panel on

       Multidistrict Litigation, Mr. Clubok’s presentation will present the views of the parties

       listed below, who joined in the Response in Opposition filed by Mr. Clubok at Docket 56:

          o Defendant Kevin O’Leary in the Norris Action and in the Garrison Action;

          o Defendant David Ortiz in the Norris Action and in the Garrison Action; and

          o Defendant William Trevor Lawrence in the Garrison Action.

Supplement to “6. Short Case Caption[s]”:

   •   Garrison v. Bankman-Fried et al., Case No. 1:22-cv-23753-KMM (S.D. Fla.); and

   •   Norris et al v. Brady et al, Case No. 1:23-cv-20439-KMM (S.D. Fla.).




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